              Case 1:20-cv-00242-RC Document 28 Filed 04/23/20 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 VIRGINIA, ILLINOIS, and NEVADA,
                                Plaintiffs,

         v.
                                                           Case No. 1:20-cv-242-RC
 DAVID S. FERRIERO, in his official capacity
 as Archivist of the United States,
                                     Defendant,
 ALABAMA, LOUISIANA, NEBRASKA,
 SOUTH DAKOTA, and TENNESSEE,
              [Proposed] Intervenor-Defendants,


                         NOTICE OF SUPPLEMENTAL AUTHORITY
        In opposing the intervention of Alabama, Louisiana, Nebraska, South Dakota, and Tennessee,

Plaintiffs ask this Court to withhold judgment on Movants’ motion to intervene until the Archivist

files his motion to dismiss; only then, Plaintiffs claim, can the Court determine whether the Archivist

adequately represents Movants. See Opp. (Doc. 21) 1, 4-8. Movants believe this wait-and-see approach

is improper, unnecessary, and inefficient. See Reply (Doc. 23) 3-9, 18-19. It is even more so now that

the Archivist has filed a motion to dismiss in Equal Means Equal v. Ferriero (EME), No. 1:20-cv-10015

(D. Mass.) (Ex. A)—another case that seeks to force the Archivist to certify the Equal Rights

Amendment.

        The Archivist’s motion to dismiss in EME confirms that he does not represent Movants’

interests here. Movants want to argue that the ERA cannot be ratified because the constitutional

deadline (apart from the congressional deadline) has expired. See Mot. (Doc. 10) 12-13; Reply 7-8. But

the Archivist does not raise this defense at all in EME. Movants also want to argue that the ERA has

not been ratified because five States validly rescinded their ratifications. See Mot. 12-13; Reply 7-8. But

the Archivist does not raise this defense in EME either; in fact, he expressly declines to take a position

on it, reserves the possibility that he will agree with the plaintiffs on it, and claims it’s a “political

question” that the courts are powerless to resolve. See Ex. A 17-18, 29, 21-22. Last, Movants want a


                                                    1
           Case 1:20-cv-00242-RC Document 28 Filed 04/23/20 Page 2 of 3



ruling that rejects the three-state strategy on the merits, not a procedural victory that leaves future

Archivists free to certify the ERA. See Mot. 13; Reply 6. But the Archivist raises a host of procedural

defenses in EME, including ripeness, the political-question doctrine, and the particularities of

mandamus. See Ex. A 17-22, 30-33.

        Movants are entitled to intervention—both before, and especially after, the Archivist filed his

motion to dismiss in EME. If the Court agrees and grants intervention relatively soon, Movants can

file their dispositive motion on the same (now extended) timeline as the Archivist. See Minute Order

(Apr. 16, 2020) (giving the Archivist until May 7 to file his motion to dismiss).



 Dated: April 17, 2020                                  Respectfully submitted,



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 Attorney General of Alabama

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                                                   2
           Case 1:20-cv-00242-RC Document 28 Filed 04/23/20 Page 3 of 3



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                                  CERTIFICATE OF SERVICE
        I filed this notice with the Court via ECF, which will notify all counsel.

Dated: April 17, 2020                                    /s/ Cameron T. Norris




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